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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA


  ANTHONY DANNUNZIO,                            CIVIL ACTION
  v.                                            NO. 21-1984
  LIBERTY MUTUAL INSURANCE CO.



                          ORDER RE. MOTION TO DISMISS

AND NOW, this 5th day of November, 2021, it is hereby ORDERED that Defendant’s Motion to

Dismiss (ECF 5) is DENIED for the reasons stated in the foregoing Memorandum.



                                                BY THE COURT:

                                                /s/ MICHAEL M. BAYLSON

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                                                MICHAEL M. BAYLSON, U.S.D.J.




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